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         12
                                          UNITED STATES DISTRICT COURT
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                                        NORTHERN DISTRICT OF CALIFORNIA
         14
                                              SAN FRANCISCO DIVISION
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              ASETEK DANMARK A/S,                            Case No. 3:19-cv-00410-EMC
         17
                               Plaintiff and                 DEFENDANTS’ NOTICE OF MOTION AND
         18                    Counter-defendant,            DAUBERT MOTION TO EXCLUDE
                                                             PORTIONS OF THE EXPERT REPORT OF
         19          v.                                      DR. NISHA MODY

         20   COOLIT SYSTEMS, INC.,                          DATE:         MAY 5, 2022
                                                             TIME:         1:30 PM
         21                    Defendant and                 LOCATION:     COURTROOM 5, 17TH FLOOR
                               Counter-claimant,             JUDGE:        HON. EDWARD M. CHEN
         22
              CORSAIR GAMING, INC. and CORSAIR
         23   MEMORY, INC.,

         24                     Defendants.

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         26           REDACTED/PUBLIC VERSION OF DOCUMENT FILED UNDER SEAL
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          1                          NOTICE OF MOTION AND DAUBERT MOTION

          2   TO ALL PARTIES AND THEIR RESPECTIVE ATTORNEYS OF RECORDS:

          3          PLEASE TAKE NOTICE that on May 5, 2022 at 1:30 p.m., or as soon thereafter as the matter

          4   may be heard, in this Court, located at San Francisco Courthouse, Courtroom 5 – 17th Floor, 450

          5   Golden Gate Ave., San Francisco, CA 94102, Defendants CoolIT Systems, Inc., Corsair Gaming, Inc.,

          6   and Corsair Memory, Inc. will and hereby do move the Court for an order excluding portions of the

          7   Rebuttal Report of Nisha Marie Mody, Ph.D. This motion is based upon this notice of motion and

          8   motion, the attached memorandum, the accompanying declaration of Reuben H. Chen and exhibits

          9   thereto, and upon such other and further matters, papers, and arguments as may be submitted to the

         10   Court at or before the hearing on this motion.

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          1   annotations of desired, but not yet completed, modifications. (Id. at 15.) Asetek does not contend that

          2   these Design-Around Alternatives have actually been implemented as a commercial product. Indeed,

          3   it is undisputed that these Design-Around Alternatives were not available on the market and were

          4   never offered to Asetek’s customers. (Ex. 2, 8/25/2021 Eriksen Depo. Tr. at 199:15-200:19; 202:20-

          5   203:4.2)

          6            Based solely on undocumented conversations she had with Andre Eriksen, Asetek’s CEO, Dr.

          7   Mody contends that these Design-Around Alternatives were both available (which they were not) and

          8   acceptable (for which there is no evidence). (Ex. 1, 12/8/2021 Mody Reb. Rpt. ¶ 41.) Dr. Mody did

          9   not support her conclusions with any independent evidence or analysis. Nor did Asetek identify any

         10   documents or evidence in its interrogatory response that are directed to availability or acceptability.

         11   Similarly, Dr. Mody’s disclosures of costs for implementation of this hypothetical non-infringing

         12   alternative were based solely on her discussion with Mr. Eriksen with no supporting evidence. (Id.)

         13            Dr. Mody also mentions in passing other alleged non-infringing designs (e.g., the Cooler

         14   MasterLiquid 240R and switching back to the non-accused Gen 1, 2, or 3 products), but did not assess

         15   the actual economic cost of these alternatives or their acceptability. Id. ¶¶ 37, 39.; see also, (Ex. 3,

         16   1/4/2022 Mody Depo. Tr. at 148:16-23) (Q: How did you determine that the products Asetek sold

         17   through 2012 would be acceptable to customers in 2018, 2019 and 2020? . . . A: So I’ve not done that

         18   specific analysis that you talk of.”).

         19   III.     LEGAL STANDARD

         20            Whether an infringer had an acceptable, non-infringing alternative available to it at the time

         21   the infringement began may be relevant to the reasonable royalty analysis. Sprint Commc’ns Co., L.P.

         22   v. Time Warner Cable, Inc., 760 F. App’x 977, 984 (Fed. Cir. 2019). But, to be relevant, non-

         23   infringing alternatives must be both available and acceptable at the time of the hypothetical

         24   negotiation. See Smart Skins LLC v. Microsoft Corp., No. C15-544-MJP, 2016 WL 4148091, at *2

         25   (W.D. Wash. July 1, 2016) (“The relevant case law establishes that . . . the alleged infringer, has the

         26   burden of showing that non-infringing alternatives were both available to it and were acceptable to its

         27
              2
                In arriving at her opinions regarding availability and acceptability, Dr. Mody seems to have ignored
         28   the deposition of Asetek’s CEO entirely in favor of an unrecorded hearsay conversation.
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          1   customers during the damages period.”); see also TV Interactive Data Corp. v. Sony Corp., 929 F.

          2   Supp. 2d 1006, 1026-27 (N.D. Cal. 2013); SPEX Techs. v. Apricorn, Inc., No. CV 16-

          3   07349JVS(AGRX), 2020 WL 1289546, at *2 (C.D. Cal. Jan. 21, 2020); LaserDynamics, Inc. v.

          4   Quanta Computer, Inc., No. 2:06-CV-348, 2011 WL 197869, at *2 (E.D. Tex. Jan. 20, 2011).

          5           If the accused infringer does not meet this burden, expert opinion predicated on the validity of

          6   the non-infringing alternative is unreliable and should be precluded. See CBOE v. ISE, No. 07 C 623,

          7   2013 WL 12323444, at *2 (N.D. Ill. Mar. 7, 2013) (excluding expert testimony on non-infringing

          8   alternatives that fails to cite evidence that the accused infringer contemplated the non-infringing

          9   substitute during the period of infringement). “[T]rial judges [have] the responsibility of acting as

         10   gatekeepers to exclude unreliable expert testimony.” Fed. R. Evid. 702, committee notes on rules,

         11   2000 amendment. The Court’s gatekeeping function is critical. Indeed, the jury may believe the Court

         12   has put its “stamp of authority on a witness’s opinion” simply because the Court designates the witness

         13   as an “expert.” Id.; Daubert v. Merrell Dow Pharms., Inc., 509 U.S. 579, 592 (1993).

         14   IV.     ARGUMENT

         15           A.     Dr. Mody failed to establish the availability of non-infringing alternatives.
         16           This Court should exclude Dr. Mody’s opinions regarding Asetek’s alleged non-infringing

         17   alternatives theory of reasonable royalty damages because the Design-Around Alternatives were

         18   hypothetical and had never been on the market. Because the proposed alternatives were not available

         19   on the market, the Court “may reasonably infer that it was not available as a noninfringing substitute

         20   at that time.” Depuy Spine. Inc. v. Medtronic Sofamor Danek, Inc., 567 F.3d 1314, 1331 (Fed. Cir.

         21   2009). It is Asetek’s “burden to overcome this inference by showing that the substitute was available

         22   during the accounting period,” and “[m]ere speculation or conclusory assertions will not suffice to

         23   overcome the inference.” Grain Processing Corp. v. Am. Maize-Prods. Co., 185 F.3d 1341, 1353

         24   (Fed. Cir. 1999). Asetek offered no such evidence. Although Dr. Mody cites Asetek’s interrogatory

         25   response, which alleges without support that “the design was readily available in 2019 and before,”

         26   there is no evidence except the ipse dixit and conclusory opinion that hypothetical designs, that were

         27   never implemented or offered for sale, let alone fully designed, were “available” during the applicable

         28   time period. (Ex. 1, 12/8/2021 Mody Reb. Rpt., ¶ 39.)
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          1           Instead, Dr. Mody’s report is purely based on speculation and conclusory assertions, and

          2   should be excluded because it is irrelevant and does not help the jury. LaserDynamics, Inc. 2011 WL

          3   197869, at *3; see also Sherwin-Williams Co. v. PPG Indus., Inc., No. CV 17-1023, 2020 WL

          4   1283465, at *9 (W.D. Pa. Mar. 18, 2020) (“Vague references” and speculation in that [the accused

          5   infringer] might have been able to design a non-infringing alternative based on the [asserted] patent

          6   will ... not suffice.”).

          7           B.       Dr. Mody failed to establish the acceptability of non-infringing alternatives.
          8           Critically, because there is no evidence supporting Dr. Mody’s opinion that the redesign was

          9   acceptable, it should be excluded. Indeed, Dr. Mody’s entire acceptability and cost analysis relies

         10   upon uncorroborated opinions of Mr. Eriksen regarding hypothetical products and their acceptability

         11   to customers. (Ex. 1, 12/8/2021 Mody Reb. Rpt., ¶ 41.) This is improper. A damages expert can only

         12   rely on a lay witness’s first-hand factual knowledge about the availability of a non-infringing

         13   alternative, not the lay witness’s speculation. See Webasto Thermo & Comfort N. Am., Inc. v. BesTop,

         14   Inc., No. 16-13456, 2019 WL 3334563, at *5 (E.D. Mich. July 25, 2019) (excluding a damages

         15   expert’s opinions about non-infringing alternatives where the expert relied on a lay witness “for far

         16   more than [the lay witness’s] percipient factual knowledge based on [his] firsthand experiences”).

         17   Here, Asetek never verified the design-around would have been accepted by customers. When asked

         18   why a customer would accept a change in a manufacturer’s liquid cooling product without any testing,

         19   Dr. Mody demurred by acknowledging: “I’m not an engineer or technical expert. That’s something I

         20   have to rely on others for.” (Ex. 3, 1/4/2022 Mody Depo. Tr. at 135:25-136:9.) But despite Mr.

         21   Eriksen’s admission that the design was never shared with customers, she relied only on him telling

         22   her that redesigns would not require any customer review, and she did not independently speak with

         23   the customers to confirm this assertion. (Id. at 130:11–132:18); (see also Ex. 2, 8/25/2021 Eriksen

         24   Depo. Tr. at 200:16-19) (“Q: Has the design shown in Exhibits 185 to 186 been shared with any Asetek

         25   customers? A: Not that I know of. I highly doubt it.”). Such speculative claims cannot be used to

         26   limit the damages resulting from Asetek’s infringement.

         27           Besides lacking a reliable basis for her opinion on commercial acceptability, Dr. Mody fails to

         28   properly address the factual basis for costs, which is critical to her opinion that redesign for all four
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          1          C.      The Court should exclude opinions relating to Asetek’s Gen 1, 2, 3 and the Cooler
                             Master Product.
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                     Dr. Mody also alleges Asetek’s Gen 1, 2, 3 and the Cooler Master MasterLiquid 240R product
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              as non-infringing alternatives, but offers no analysis on availability or commercial acceptability other
          4
              than simply claiming that the Gen 2 and Gen 3 models were commercial successes in 2012. (Ex. 1,
          5
              (12/8/2021 Mody Reb. Rpt. ¶ 37.) When asked about these products during deposition, Dr. Mody
          6
              readily conceded that she never performed an analysis regarding whether such legacy products would
          7
              still be commercially acceptable years later. (Ex. 3, 1/4/2022 Mody Depo. Tr. at 148:16-23.) (Q: How
          8
              did you determine that the products Asetek sold through 2012 would be acceptable to customers in
          9
              2018, 2019 and 2020? . . . A: So I’ve not done that specific analysis that you talk of.”). As for the
         10
              Cooler Master product, Dr. Mody also fails to explain how Asetek could have used a third party’s
         11
              product designs as a non-infringing alternative and why that would have been commercially
         12
              acceptable. An unassessed non-infringing alternative is not an alternative at all, and must be excluded.
         13
                     To the extent that Dr. Mody is basing her opinion on the expert report of Dr. David B.
         14
              Tuckerman, that is also improper. (Ex. 1, 12/8/2022 Mody Reb. Rpt. ¶ 40.) As explained in CoolIT’s
         15
              concurrent Daubert motion regarding Dr. Tuckerman, Dr. Tuckerman admitted at his deposition that
         16
              he was not familiar with the Asetek Gen 3 device and never inspected Cooler Master products.
         17
              Because Dr. Mody relies on the unfounded testimony from Dr. Tuckerman, and provides no
         18
              independent analysis for the alleged Asetek Gen 1, 2, 3 and Cooler Master alternatives, the Court
         19
              should exclude her opinions on this topic. See Acceleration Bay LLC v. Activision Blizzard Inc., No.
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              1:16-cv-00453-RGA, 2019 WL 4194060, at *8 (D. Del. Sept. 4, 2019) (excluding opinions based on
         21
              assumptions where no technical expert did a proper analysis of non-infringing alternative: “[a]
         22
              damages’ expert’s assumption is not sufficient to support a damages opinion based on a particular
         23
              non-infringing alternative.”)
         24
                     D.      The Court should exclude opinions relating to the late-disclosed non-infringing
         25                  alternatives.

         26          Independently, the Court also should preclude Dr. Mody from opining on the non-infringing

         27   alternatives proposed by Asetek due to their untimely disclosure. See Innogenetics, N.V. v. Abbott

         28   Labs., 512 F.3d 1363, 1375-76 (Fed. Cir. 2008) (excluding arguments disclosed for the first time on
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          1   the last day of discovery). This is the subject of a concurrent motion to strike by CoolIT.3

          2            Asetek’s untimely disclosure of materials prohibited CoolIT from evaluating the design to

          3   prove if it was, indeed, an acceptable, non-infringing alternative. Asetek’s belated production also

          4   prevented CoolIT’s experts from addressing the design in their own reports. Asetek has no explanation

          5   as to why the materials were not produced earlier, or how said production was justified or harmless.

          6   Because these materials are untimely and prejudicial, any testimony relying on them should be

          7   excluded.

          8   V.       CONCLUSION

          9            Because Dr. Mody lacks sufficient facts and data for her opinion that the Design-Around

         10   Alternatives were commercially-acceptable non-infringing alternatives offering the same technical

         11   benefits of the asserted patents, Dr. Mody’s opinions are unreliable and should be excluded. The same

         12   rationale applies to Dr. Mody’s opinions about Asetek’s Gen 1, 2, 3 and the Cooler Master Product.

         13   For a separate and independent reason, the Court should also exclude Dr. Mody’s opinions regarding

         14   non-infringing alternatives on the ground that Asetek made untimely disclosures. Paragraphs 35 to 41

         15   of Dr. Mody’s rebuttal report should be stricken.

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                  See Defendants’ motion to strike Asetek’s alleged design-arounds, filed concurrently herewith.
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